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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

we ee ee eee eee ee eee eee ee x
UNITED STATES OF AMERICA,
-against- : ORDER
MELIKE MCCRIMMON, : 20 Crim. 343 (GBD)
Defendant. :
we ee ee ee eee eee x

GEORGE B. DANIELS, United States District Judge:
As confirmed by counsel for Defendant, Defendant’s motions challenging the jury make-
up, (ECF No. 116), and for clerical revisions to a transcript, (ECF No. 118), are DENIED as moot.

The Clerk of Court is directed to close both motions and to close this case.

Dated: November 28, 2022
New York, New York

SO ORDERED.

Gace: b Daired

ORQH B. DANIELS
nited States District Judge

